  3:20-cv-01051-DCN-SVH     Date Filed 11/05/20   Entry Number 36   Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA

Johnathan Martia Daniels,              )     C/A No.: 3:20-1051-DCN-SVH
                                       )
                                       )
             Plaintiff,                )
                                       )
       vs.                             )                 ORDER
                                       )
Siemens Industry Inc.; Joe Kaeser;     )
and Michael Conaghan,                  )
                                       )
             Defendants.               )
                                       )

      This is a civil action filed by a pro se litigant. Under Local Civ. Rule
73.02(B)(2)(e) (D.S.C.), pretrial proceedings in this action have been referred
to the assigned United States Magistrate Judge.
      By orders dated October 23, 2020, the undersigned authorized the
United States Marshal Service (“USMS”) to effect service of process. On
November 4, 2020, the USMS advised that they are not responsible for service
of process on foreign defendant Joe Kaeser. [ECF No. 35]. Therefore, the Clerk
of Court is directed to transmit the service documents for Joe Kaeser to the
German Central Authority.
TO PLAINTIFF:
      Plaintiff must provide, and is responsible for, information sufficient to
identify and serve defendants on the Forms USM-285 and Forms USM-94. The
United States Marshal cannot serve an inadequately identified defendant.
Unserved defendants may be dismissed as parties to this case if not served
within the time limit governed by Rule 4(m) and this order.
       Pursuant to Fed. R. Civ. P. 5, any documents filed subsequent to the
initial pleading must be served on parties. Unless otherwise ordered, service
of subsequently filed documents on a defendant represented by an attorney is
made on the attorney. Service on attorneys who have made an appearance in
this court is effected by the court’s Electronic Case Filing system through a
computer generated notice of electronic filing. However, prior to defendants’


                                       1
  3:20-cv-01051-DCN-SVH     Date Filed 11/05/20   Entry Number 36   Page 2 of 2




attorney making an appearance in this court, Plaintiff must serve defendants
with any documents Plaintiff files subsequent to the initial pleading and file a
certificate of service that states who was served, what document was served,
and how the document was served.
      IT IS SO ORDERED.


November 5, 2020                           Shiva V. Hodges
Columbia, South Carolina                   United States Magistrate Judge




                                       2
